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                  UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov
                              CHAPTER 13 MMM PLAN (Individual Adjustment of Debts)
                          2nd       Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                    Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: P a t r i c e S Q u i n t            JOINT DEBTOR:                                        CASE NO.: 16-26987
Last Four Digits of SS# 7777                 Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s)
to pay to the trustee for the period of     60      months. In the event the trustee does not collect the full 10%, any portion
not collected will be paid to creditors pro-rata under the plan:
         A.       $ 1,672.68 for months        1 to 8          ;
         B.       $ 1,904.40 for months        9 to 60 ; in order to pay the following creditors:

 Administrative: Attorney's Fee - $ 3,500.00 + $150.00 (Costs) +$2,500.00 (MMM) + $100.00 (Costs)
 TOTAL PAID $ 6,000.00. Balance Due $ 250.00 payable $ 31.25          /month ( Months 1-8 )

Secured Creditors: [ Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:

1. Citifinancial Servicing, LLC                       MMM Payment: $1,440.63/month (Months 1-60)
   POB 70919
   Charlotte, NC 28272-0919
   Acc#xxxx9116

2. Palm Beach County Tax Collector                    Payoff at time of filing: $1,919.76
   POB 3353                                           Payable: $48.73/month (Months 1-60)
   West Palm Beach, FL 33402                          *includes 18% interest
   Acc#xxxx6450
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

                                 Description and                                                                       Total Plan
     Secured Creditor           Value of Collateral     Interest Rate      Plan Payments             Months of         Payments
                                                                                                     Payments
NONE

Priority Creditors: [as defined in 11 U.S.C. §507]
NONE

Unsecured Creditors: Pay $ 241.91 /month (Months 9-60).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:

1. The debtor has filed a Verified Motion for Referral to MMM with Citifinancial (“Lender”), loan number xxxx9116, for real
property located at 12155 40th Street North, West Palm Beach, FL 33411 . The parties shall timely comply with all
requirements of the Order of Referral to MMM and all Administrative Orders/Local Rules regarding MMM. While the MMM is
pending and until the trial/interim payment plan or the permanent mortgage modification/permanent payment is established by
the parties, absent Court order to the contrary, the debtor has included a post-petition monthly plan payment (a) with respect to
the debtor’s homestead, of no less than the lower of the prepetition monthly contractual mortgage payment or 31% of the
debtor’s gross monthly income (after deducting any amount paid toward HOA fees due for the property) and (b) with respect to
income producing property, of no less than 75% of the gross income generated by such property, as a good faith adequate
protection payment to the lender. All payments shall be considered timely upon receipt by the trustee and not upon receipt by the
lender. Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the
lender’s proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage
arrearage stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to
confirmation of the plan or modified plan. If the debtor, co-obligor/co-borrower or other third party (if applicable) and the
lender agree to a settlement as a result of the pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to
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Approve Mortgage Modification Agreement with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage
Modification Agreement with Lender) no later than 14 calendar days following settlement. Once the settlement is approved by
the Court, the debtor shall immediately amend or modify the plan to reflect the settlement and the lender shall amend its Proof
of Claim to reflect the settlement, as applicable. If a settlement is reached after the plan is confirmed, the debtor will file a
motion to modify the plan no later than 30 calendar days following approval of the settlement by the Court and the Lender shall
have leave to amend its Proof of Claim to reflect the settlement reached after confirmation of the plan. The parties will then
timely comply with any and all requirements necessary to complete the settlement. In the event the debtor receives any financial
benefit from the lender as part of any agreement, the debtor shall immediately disclose the financial benefit to the Court and the
trustee and amend or modify the plan accordingly. If the lender and the debtor fail to reach a settlement, then no later than 14
calendar days after the mediator’s Final Report is filed, the debtor will amend or modify the plan to (a) conform to the lender’s
Proof of Claim (if the lender has filed a Proof of Claim) or (b) provide that the real property will be surrendered. If the amended
or modified plan provides that the real property is to be surrendered, then the obligations to the lender will be considered
“treated outside the plan” and the lender shall have in rem relief from the automatic stay as to the real property being
surrendered. Notwithstanding the foregoing, lender may file a motion to confirm that the automatic stay is not in effect as to the
real property. Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment
of its Proof of Claim.
I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
       /s/ Patrice S Quint                                                 /s/
Debtor                                                           Joint Debtor
Date: 7/23/2017                                                  Date:



LF-31 (rev. 01/08/10)
